 JS 44 (Rev. I0/20)                                          Case 5:22-cv-01329-XR Document
                                                                                CIVIL COVER 1-1SHEET
                                                                                                 Filed 12/13/22 Page 1 of 2
                                                                                                                22-1329
 The JS 44 civil cover sheet and the infonnation contained herein ne ith er replace nor suppl ement the filin g and service of p lead ings o r other papers as required by law, except as
 provided by local rules of court. Thi s fonn , approved by the Judicia l Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the c ivil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                                                                                                              DEFENDANTS
                    Melissa Gale                                                                                                                                                                Mission Hospice of San Antonio, LLC.

        (b)        County of Residence of First Listed P lai ntiff                                                                                                                              County of Residence of First Listed Defendant
                                     (EXCEPT IN U.S. PLAINTIFF CASE:S)                                                                                                                                                 (IN U.S. PLAIN TIFF CASES ONLY)
                                                                                                                                                                                                NOTE:   IN LAND CON DEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                                        THE TRACT OF LAND INVOLVED .

       ( C)       A ttorneys (Firm Name, Address, a11d Telepho11e Numbe1)                                                                                                                        Attorneys (If Known)

                    Michael V. Galo, Jr. Galo Law Firm P.C. 4230
                    Gardendale, Bldg. 401 , San Antnonio , Texas 78229
 II. BASIS OF J URISDICTION (Place a11                                                                   "X" i11 011e Box 011ly)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                                     "X" in 011e Box/or Plaintiff
                                                                                                                                                                                     (For Diversity Cases 011ly)                                                               and 0 11e Box for Defendant)
0      1      U.S. Government                                      0     3      Federal Ques1ion                                                                                                               PTF                                    DEF                                           PTF
                 Plaintiff                                                        (U.S. Governme11t Not a Party)                                                               Citizen of This State          0 I                                 01          Incorporated or Principal Place       0 4
                                                                                                                                                                                                                                                                of Business In This State

0      2      U.S. Govemmen!                                       0     4      Diversity                                                                                      Cilizen of Another Stale                                0    2     0           Incorporated and Principal Place              0           Os
                 Defendant                                                        (Indicate Citize11ship of Parties in Item Ill)                                                                                                                                of Business In Another State

                                                                                                                                                                               Citizen or Subjec! of a                                 0    3     0     3     Foreign Nati on                               0     6     0    6
                                                                                                                                                                                 Foreign Country
 IV. NATURE OF SUIT (Place a11                                                      "X " in011eBox011ly)                                                                                                                                   Click here for:            ature of Suit Code Descri !ions.
                    CONTRACT                                                                                     TORTS                                                             FORFEITURE/PENALTY                                                 BANKRUPTCY                              OTHER STATUTES




~
       110 Insurance                                                   PERSONAL INJ URY                                      PERSONAL INJ URY                                       625 Drug Related Seizure                                     422 Appeal 28 USC 158                 x   375 False Claims Act
       120 Marine                                                      310 Airplane                                    0    365 Personal Injury -                                       of Property 2 1 USC 881                                  423 Withdrawal                            376 Qui Tam (31 USC
       130 Miller Act                                                  315 Airplane Product                                      Product Liability                                  690 01hcr                                                        28 USC 157                                3729(a)}
       140 Negotiable Instrument                                            Liability                                  0    367 Health Care/                                                                                               1--=:=======::---l=l 400 Stale Reapportionment
       150 Recovery ofOverpaymen!                                      320 Assault, Libel &                                     Phamiaceulical                                                                                             l-.-Ll~~<.!l.Ji.,,L.!l.l.:::.1.1.U.Ol....--1-J 410 Antitrust
           & Enforce ment of Judgmen!                                       Slander                                             Personal Injury                                                                                                                                                     430 Banks and Banking
0      151 Medicare Act                                                330 Federal Emp loyers'                                  Produc! Liabili1y                                                                                                                                                   450 Commerce
0      152 Recovery of Defaulted                                            Liabili!y                                  0    368 Asbestos Personal                                                                                                 835 Palen! - Abbreviated                          460 Deportation
            Studen! Loans                                              340 Marine                                                Injury Product                                                                                                         New Drug Appl ication                       470 Racketeer Influenced and
           (Excludes Veterans)                                         345 Marine Product                                        Liability                                                                                                        840 Trademark                                         Corrupt Organizations
0      153 Recovery of Overpayment                                          Liability                                      PE RSONAL PROPERTY                                                 LABOR                                               880 Defend Trade Secrets                          480 Consumer Credi!
           of Veteran 's Benefits                                      350 Motor Vehicle                              0     370 Other Fraud                                         7 10 Fair Labor Standards                                           Act of2016                                      (15 USC 1681or1692)
0      160 Stockholders' Suits                                         355 Motor Veh icle                             0     371 Truth in Lending                                         Act                                                                                                        485 Telephone Consumer
0      190 Other Contrac!                                                  Product Liability                           0    380 Other Personal                                      720 Labor/Management                                   1--s=-o=c'"'IAL.,..,....,S"'E'"'c"'u"'RI=T"'Y,.,...-...-     Protection Act
0      195 Contract Product Liability                                  360 Other Persona l                                      Property Damage                                          Relations                                               86 1 HIA (1395ff)      490 Cable/Sat TV
0      196 Franchi se                                                      Injury                                      0    385 Property Damage                                     740 Rai lway Labor Ac!                                       862 Black Lung (923)   850 Sccurilics/Commoditics/
                                                                       362 Personal Injury -                                    Product Liability                                   751 Family and Medical                                       863 DI WC/DIWW (405(g))     Exchange
                                                                           Medical Malpractice                                                                                           Leave Act                                               864 SSID Title XVI     890 Other Statutory Actions
i-,,..,..,..,..,.RE_AL,..,,.P;.,.R..;,O.;.,;;..P,;;,.E,;;,.R..;,T-'Y--+-..--'C-'I.,..VIL=.,;;,.Rl"'G.,;;,.;;H;,,;;T..;S_ _-+--'P-'Rl=.O;;.;.,;N.;;;E,;;,.R;,,;;P;,,;;E;..T;;.;l;,,;;T-'IO;;.;.,;N.;;;S~~ 790 Other Labo r Litigation             865 RSI (405(g))       89 1 Agricultural Acts
           210 Land Condemnation                                                  440 Othe r Civil Rights                              Habeas Corpus :                                                   791 Employee Relirement                                        893 Environmental Mancrs
0 220 Foreclosure                                                                 441 Voting                                           463 Alien Detainee                                                    Income Security Act           1--::==,..,-,:-::='='""==--H 895 Freedom of In formation


§
           230 Rent Lease & Ejectment                                             442 Employmen!                                       51 0 Motions to Vacate                                                                                    870 Taxes (U.S.                               Act
           240 Torts to Land                                                      443 Housing/                                                 Sentence                                                                                               or Defendanl )                       896 Arbitralion
           245 Tort Produc! Liabi lity                                                  Accommodations                                 530 General                                                                                               87 1 IRS-Third Party                      899 Admi nistralive Procedure
0 290 All Other Real Property                                                     445 Amer. w/Disabilities -                          535 Dea1h Penalty                                                                                                26 USC 7609                             Ac!/Review or Appeal of
                                                                                         Employment                                   Other:                                                                                                                                                   Agency Decision
                                                                                  446 Amer. w/Disabi lities -                         540 Mandamus & Other                                                                                                                                 950 Constitutionality of
                                                                                        Other                                         550 Civil Rights                                                                                                                                         Stale Statutes
                                                                                  448 Education                                       555 Prison Condilion
                                                                                                                                      560 Civi l Detainee -
                                                                                                                                               Condiri ons of
                                                                                                                                               Confinement
 V. ORIGIN (Place an 'X" in One Box Only)
01           Orig in al
             Proceeding
                                            0      2 Removed from
                                                     State Court
                                                                                                    0        3       Rema nded from
                                                                                                                     Appell ate Court
                                                                                                                                                                  0      4 Reinstated or
                                                                                                                                                                           Reopened
                                                                                                                                                                                                              os           Transferred from
                                                                                                                                                                                                                           Another District
                                                                                                                                                                                                                                                            0 6 Multidistrict
                                                                                                                                                                                                                                                                      Liti gation -
                                                                                                                                                                                                                                                                                                 os       Multidi strict
                                                                                                                                                                                                                                                                                                          Litigati o n -
                                                                                                                                                                                                                           {specify)                                  Transfer                            Direct F ile
                                                                         C ite the U.S. C ivil Statute unde r which yo u are filing (Do not cite jurisdictio11al statutes u11/ess diversity):
 VI. CAUSE OF ACTION                                                     False Claims Act, 31 u.s.c Section 3730(h).
                                                                         Brief descriptio n of cause:
                                                                         This is an action retaliatory discharge under the False Cla ims Act, 31 U.S .C. Section 3730(h).
 VII. REQUESTED IN                                                      0         C H ECK IF THIS IS A CLASS ACTION                                                                 DEM AN D $                                                           C H ECK YES onl y if demanded in complaint:
      COMPLAINT:                                                                  UN D ER R ULE 23 , F.R.Cv.P.                                                                                                                                           JURY DEMAND:                        0Yes           0      o

 VIII. RELATED CASE(S)
                                                                               (See instructio11s):
       IF ANY
 DATE
    12/12/2022
 FOR OFFICE USE ONLY

      RECEIPT #                                           AMOUNT                                                                     APPL YING IFP                                                                     JUDGE                                            MAG . JUDGE
JS 44 Reverse (Rev. I 0/20)
                              Case 5:22-cv-01329-XR Document 1-1 Filed 12/13/22 Page 2 of 2
                      INSTRUCTIO NS FOR ATTORNEYS COMPLETING C IVIL COVER SHEET FORM J S 44
                                                                  Authori ty For Civil Cover Sheet

The JS 44 civil cover sheet and the infonnation contained herein neither replaces nor supplements the filin gs and service of pleading or other papers as
required by law, except as provided by local rul es of co urt. This fo rn1 , approved by the Judic ial Confere nce of the United States in September 1974, is
required for th e use of the Clerk of Court fo r th e purpose of initi ating the civil docket sheet. Consequentl y, a civil cover sheet is sub mitted to the Clerk of
Co urt fo r each civi l complaint fi led. The attorney fi ling a case should comp lete th e fo nn as fo llows :

I.(a)    Plaintiffs-Defenda nts. Enter names (last, first, midd le ini tial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify fi rst the agency and then
         the offi cial, giving both name and title.
  (b)    County of Residence. For each civil case fi led, except U.S. pl aintiff cases, enter the name of the county where the fi rst listed plain tiff resi des at the
         time of fil ing. In U. S. plainti ff cases, enter th e name of th e coun ty in which the first listed defend ant resides at th e time of fili ng. (NOT E: In land
         condemnation cases, th e coun ty of residence of the "defend ant" is the locati on of th e tract of land involved.)
  (c)    Attorneys. Enter the finn name, address, telephone num ber, and att orn ey of reco rd. If there are several attorn eys, list them on an attachment, notin g
         in th is section "(see attachment)" .

II.      Jurisdiction. The basis of jurisdi ction is set fort h under Rule 8(a), F.R.Cv.P., whi ch requires th at j urisdi ctions be shown in pleadi ngs. Place an "X"
         in one of the boxes. If there is more than one bas is of jurisdicti on, precedence is given in the order shown below.
         United States plain ti ff. ( I) Jurisdi ction based on 28 U.S .C. 1345 and 1348. Suits by agencies and offic ers of th e United States are inc luded here.
         United States defendant. (2) When th e pl aintiff is suing the United States, its offi cers or agencies, place an "X" in this box .
         Federal questi on. (3) This refers to suits under 28 U.S.C . 133 1, where j urisdi ction arises under the Consti tuti on of the Uni ted States, an amendmen t
         to the Constituti on, an act of Congress or a treaty of th e United States. In cases where the U.S. is a party, th e U.S. plainti ff or defenda nt code takes
         precedence, and box I or 2 should be marked.
         Diversity of citizensh ip. (4) This refers to suits under 28 U .S.C. 133 2, where parti es are citizens of different states. When Box 4 is checked, th e
         citizenship of th e different parti es must be checked. (See Secti on ITI below; NOTE : feder al qu estion action s t ake precedence over diver sity
         cases.)

III.     Residence (citizenship) of Principal Parties. This secti on of the JS 44 is to be comp leted if diversity of citizenship was indicated above. Mark this
         section for each principal party .

IV.      Nature of Sui t. Place an "X" in the app ropriate box. If th ere are mu ltiple nature of sui t codes associated wi th the case, pick the nature of suit code
         that is most applicable. Click here for: Natu re of Suit Code Descriptions.

V.       Origin. Place an "X" in one of th e seven boxes.
         Original Proceedings. ( I) Cases whi ch origi nate in th e United States district co urts.
         Removed fro m State Court. (2) Proceedin gs initiated in state courts may be removed to the di strict courts under Title 28 U.S.C. , Section 1441 .
         Remanded from Appellate Court. (3) Check th is box for cases remanded to the district court for fu rther action. Use the date of remand as th e fi ling
         date.
         Reinstated or Reopened. (4) Check th is box fo r cases reinstated or reopened in the district court. Use the reopeni ng date as the fi li ng date.
         Transferred fro m Anoth er District. (5) For cases transferred under Title 28 U.S.C. Secti on 1404(a). Do not use this fo r with in district transfers or
         mu ltidistri ct litigation transfers.
         Multidistri ct Litigation - Transfer. (6) Check thi s box when a multidistri ct case is transferred in to the distri ct under authori ty of Title 28 U.S.C.
         Section 1407.
         Mul tidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is fi led in the same distri ct as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIG IN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of acti on and give a brief description of the cause. Do not cite jurisdi ctional
         statutes unless diver sity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthori zed reception of cable servi ce.

VII.     Requested in Com plaint. Class Action. Place an "X" in th is box if you are fi ling a class acti on under Rule 23 , F. R. Cv.P.
         Demand . In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary inj unction.
         Jury Demand . Check the appropriate box to indicate wheth er or not a jury is being demanded.

VIII. R elated Cases. This secti on of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases .

Date a nd Attorn ey Signature. Date and sign the civil cover sheet.
